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                       UNITED STATES DISTRICT COURT
                        DISTRICT OF MASSACHUSETTS


CONSERVATION LAW FOUNDAT I ON , I NC. ,

                        Plaintiff ,

                  v.                                    CIVIL ACTION
                                                        NO . 2 0-10032 - WGY
ACADEMY EXPRESS , LLC ,

                        De f endant .



YOUNG , D. J .                                             July 10 , 2025

                                        ORDER

      Conservation Law Foundation , LLC ("Conservation Law") filed

the operative complaint in this lawsuit against Academy Express,

LLC (" Academy") on October 29 , 2020 , seeking to redress

Academy ' s alleged Clean Air Act violations due to Academy ' s

vehicles' exceeding state - set motor vehicle idling limits and

thereby harming some of Conservation Law ' s members .                Am. Compl. ,

ECF No. 29.      This Court granted Academy ' s motion for summary

judgment on August 17 , 2023 , on the grounds that Conservation

Law lacked Article III standing.            Elec. Order , ECF No . 129 ; Mem.

& Order , ECF No . 131 ; Conservation L . Found .,        Inc . v . Academy

Express , LLC , 693 F. Supp . 3d 41 (D. Mass. 2023) .

      Conservation Law appealed , and the First Circuit Court of

Appeals vacated this Court ' s decision , ruling that air pollutant

exposure may constitute an injury- in - fact regardless of any
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additional harms, and that a showing of geographic proximity

alone may satisfy the traceability requirement for standing in

Clean Air Act cases, such that "traceability may be simple at

very close range," but "likely" requires "expert testimony

explaining how the pollution travels to, and ultimately affects,

those members" whose "testimony does not place them at or near

the commuter stations."     Conservation L. Found., Inc. v. Academy

Express, LLC, 129 F. 4th 78, 87-88, 91-92       (1st Cir. 2025).           The

First Circuit remanded the case to this Court to determine which

of Conservation Law's witness declarations and expert

disclosures are part of the record, to make the fact findings

necessary to assess traceability, and to apply the correct legal

standards to those facts.     Id. at 92-93; Mandate, ECF No. 138.

This Order briefly sets out the Court's reasoning as to

traceability.

     This Court heard oral argument on the traceability issue on

May 29, 2025.   Elec. Clerk's Notes, ECF No. 154.           The issue was

fully briefed by both parties.     Conservation Law's Supp. Mem.

Traceability ("Pl.'s Mem."), ECF No. 151; Mem. Law Supp. Def.

Academy's Renewed Mot. Summ. J. on the Issue of Standing

("Def.'s Mem."), ECF No. 152.     The Court denied Academy's

renewed motion for summary judgment at the hearing, pending a

written order clarifying which of the six bus locations

Conservation Law had standing to bring suit regarding, based on

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an adequate showing of traceability.          Elec. Clerk 's Notes, ECF

No . 154.   This Court now rules that Conservation Law has

standing to sue with respect to the Agganis Way, Cambridge Go ,

Wellington , and Newton Go locations, but not with respect to the

Braintree and Bridgeport locations , and sets out its reasoning

below .

      First, Academy argues that none of Conservation Law's

members has adduced a traceable injury-in-fact at any of the six

locations at which Academy ' s buses are alleged to have

excessively idled.    Def .' s Mem . 1.     The First Circuit , however,

made clear that at least those members who are "squarely in the

discharge zone" of harmful pollution may establish traceability

without expert analysis, such as those of Conservation Law's

members who regularly pass "directly by " the bus stops and

stations at issue; and that, because Conservation Law alleges a

pattern of idling spanning twenty-six days, there is "no need to

show exposure to each individual emission in order to establish

standing to complain of the general and repeated pattern of

unlawful idling, " including where members ' alleged injury stems

only from "avoid[ing] certain areas because of Academy ' s

idling."    Conservation L. Found, Inc., 129 F. 4th at 92 (quoting

Friends of the Earth , Inc. v. Gaston Copper Recycling Corp., 204

F . 3d 149, 162 (4th Cir. 2000)).     Academy argues that its expert

James M. Lyons '   report shows that ambient pollution levels at

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the three locations he examined were "essentia11y zero as

compared to background levels and in no instance caused or

contributed to pollutant concentration levels at or above" the

relevant Clean Air Act standard, and that Conservation Law

presented no evidence showing emissions impacting its members at

the other three stops, Def.'s Mem. 2., but this argument ignores

the First Circuit's clear statement that exposure to harmful

pollutants in itself -- that is, at levels not above the

relevant standard -- may constitute a traceable injury-in-fact.

Further, insofar as it suggests that Conservation Law's members

may have been exposed to no excess pollution at all due to

Academy's idling at any one location, this directly conflicts

with Conservation Law's own expert reports suggesting that

pollutants from Academy's idling buses travel at least one mile

downwind.   See Pl.'s Mem. 7-8.    Thus, as to those members

alleging regular proximity to (or, to the extent that it is

reasonable, avoidance of) an area within a mile of the relevant

locations, this raises an issue of fact for the jury.            See

Texans United for a Safe Econ. Educ. Fund v. Crown Cent.

Petroleum Corp., 207 F.3d 789, 793 (5th Cir. 2000)          ("Although

[the plaintiffs] must ultimately establish causation if they are

to prevail on the merits, they need not do so to establish

standing.") .




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     "Although competing expert reports alone do not necessarily

preclude summary judgment, where .         . experts each present more

than 'merely conclusory allegations,' and the 'indisputable

record facts' at this stage do not sufficiently ' contradict or

render [either side's expert] opinion[s] unreasonable ,' summary

judgment is not appropriate."      Students for Fair Admissions,

Inc. v. President and Fellows of Harvard Coll.          (Harvard Corp . ) ,

346 F. Supp. 3d 174, 194    (D. Mass. 2018)     (Burroughs, J . )

(citations omitted).    So here.    Conservation Law points to

members who regularly pass within some two hundred feet of the

33 Agganis Way, Cambridge Go Bus, Newton Go Bus, and Wellington

stops and stations, Pl.'s Mem. 4-5, which members fit squarely

with the geographical proximity standard adopted by the First

Circuit.   As Conservation Law summarizes, "[t]he traceability

test is not one of tort causatio n, but rather, of whether the

proximity is such that the plaintiff members' stake in the

dispute is personally experienced."        Id. at 3 (emphasis added)

This Co urt therefore rules that Conservation Law has standing to

sue as to these four locations.

     As to the Braintree and Bridgeport locations, Conservation

Law points to members who regularly use or avoid areas ,

respectively, 0.4-0.5 miles and 400-500 feet from the Braintree

lot, and to o ne member who regularly uses areas between 0 . 3 and

0.4 miles fr om the Bridgeport l ot , and relies on expert opinions

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supporting the propositions that breathing motor vehicle exhaust

can cause adverse health effects, that Academy's idling vehicles

contribute to elevated levels of harmful pollutants, and that

pollutants from Academy's idling travelled as far as one mile

from the Braintree and Bridgeport bus lots.               Pl.'s Mem. 6- 8.

        There is, however, a wrinkle.          The First Circuit made clear

in its opinion vacating the Order of this Court that "having

only one member with standing does not necessarily establish

standing for all claims," and that, in order to bring claims

with respect to the locations where it alleges that excess

idling took place, "CLF must show that it -- through its members

-- had standing as of [October 29, 2020, the date of the Amended

Complaint 's filing]     to bring its claims for each of its six

asserted locations."        Conservation L. Found., 129 F. 4th at 85 -

86 .     The First Circuit noted that nine of Conservation Law's

original standing witnesses had joined the organization by

October 29, 2020, and that those nine witnesses asserted

standing to complain about Academy's idling with respect to five

of the six stops or stations at issue here, that is, all but the

Braintree locati on.       Id. at 86 & n.4.

         Conservation Law has at no time produced a member who had

standing to sue with respect to the Braintree location as of

October 29, 2020.       The two witnesses for this location whom it

relies on now, Nancy Dimock and Charles Darmstadt, Pl.'s Mem. 6,

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joined Conservation Law in, respectively, August 2021 and April

2025, Ex. CLF Member Decls. 34, 36, ECF No. 151- 2 .         This Co urt

therefore rules that Conservation Law does not have standing t o

sue with respect to the Braintree location.

     Similarly, as the First Circuit also noted, Kathleen

Becker, who is the only member upon whose injury Conservati o n

Law relied with respect to the Bridgeport lot at the time of th e

Amended Complaint's filing, was not a member of Conservation Law

as of October 29, 2020.     Conservation L. Found., 129 F. 4th at

86 & n.3.   The member whom Conservation Law seeks to rely o n

now, William Finch, Pl.'s Mem. 6, joined Conservation Law in

November 2023, Ex. CLF Member Decls. 40.       Colin Antaya, whom

Conservation Law also identifies as a member affected by

Academy's idling at the Bridgeport location, was a member as of

September 2020, but states in his Declaration that he began his

current job in Bridgeport in September 2021; thus, he does not

allege that he was harmed by Academy's idling as of the date of

the Amended Complaint's filing.      Id. at 38.     This Court

therefore rules that, on the record before it, Conservation Law

does not have standing to sue with respect to the Bridge p ort

location.

     In sum, this Court rules that Conservation Law has standing

to sue, but only with respect to the Agganis Way, Cambridge Go ,

Wellington, and Newton Go bus locations.       Academy's renewed

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motion for summary judgment on the issue of standing, ECF No.

152, is therefore ALLOWED in part, as to the Braintree and

Bridgeport locations only , and DENIED in part as to the other

four locations.

     SO ORDERED.




                                             DISTRICT JU




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